Case 5:10-cv-00546-CAS-FFM Document 1 Filed 04/14/10 Page 1 of 10 Page ID #:1

                                                                                    FITEO
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                                    rN 092884)
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           LAW OFFICE OF ROBERTR. RONNE, RONNE. APC
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              Sesundo. California 90245
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     5
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           Facsimile : (6261 396-1555
     8     E-mail: D.Rihn@ tt.Net
     9

 10       Attomeys for Plaintiffs Erlinda Arandia and Mariano cabellon
 1l
 t2                                 UNITED STATES DISTRICT COI]RT
 l3                               CENTRAL DISTRICT OF' CALIFORNIA
 t4
 l5       ERLINDA ARANDIA A
          MARIANO CABELLON.t,
                                       ffiP     cq tprrfio 00b 40
 16
                                                    )                                                                OP
T7                              Plaintiff,                    COMPLAINT FOR DAMAGES:
l8
19
                 vs.                                          1)         FAILURE TO PAY
                                                                         MINIMTJM WAGE ANI)
         wnIIER WOODS COTTAGES:                                          OVERTIME
20       lfrNTER WOODS HOME CARb                                         COMPENSATION
         FOR THE ELDERLY LLC:                                            (Fair Labor Standards Act);
2l       EDGARDO ROCES,
22
                                                              2)         FATLURE TO PAY
                                                                        OVERTIME
23
                                                                        COMPENSATION. AN-D
                               Defendants.                              RELATED RELIEF'
24                                                                      flnclu{ing California Labor
                                                                        Code Section                   ll94).
25

26              Plaintiffs Erlinda Arandia and Mariano cabellon allege as follows:
27       t/t
28       t/t

                                                        -1-
                                                Comptaint
Case 5:10-cv-00546-CAS-FFM Document 1 Filed 04/14/10 Page 2 of 10 Page ID #:2



      1                                JURISDICTION & VENTIE
      2            l.    This action involves claims brought under the Fair Labor Standard Act
      3     ("FLSA"), which present a federal question (see generally 29 USCA, Section 216
      4     (b)) over which this court has original jurisdiction under 28 USCA Section I 13l .
      5     This court is permitted, at its discretion, to adjudicate the state claims alleged. (2g
      6    USCA Section 1367).
      7           2.   A defendant resides within the Central District of California, plaintiffs
      8    are informed and believe. Venue is proper under 28 USCA Section 1391.

     9                                THE PARTIES
 10               3'    Defendant WINTER WOODS COTTAGES is, Plaintiffs are informed
 ll        and believe' a business entity, with its principal place of
                                                                       business in Riverside,
 l2        California, ffid was ajoint employer of plaintiffs.
 l3               4.    Defendant WINTER       wooDs HOME CARE FoR THE ELDERLY
 l4        LLC is, Plaintiffs are informed and believe, a California limited liability
                                                                                       corporation,
 l5        with its principal place of business in Riverside, California, and was joint
                                                                                     a
 t6        employer of Plaintiffs.
 I7               5'    Defendant Edgardo Roces is an individual who has financial
                                                                                        and/or
 18       operational control over any entity defendants, or are individuals
                                                                                who have authority
 t9       to act for him in relation to the work of Plaintiffs, and thus
                                                                         are joint employers of
20        Plaintiffs.
2T               6'     All of the business entities which defendants   operate generally use a
22        variety of or variations on names, illd as to Plaintiffs, operated
                                                                             under aliases or other
23        fictitious names' including defendant WINTER wooDs
                                                                       HOME CARE FOR THE
24        ELDERLY LLC (all of which names are referred to collectively               ,.facilities,,).
                                                                              as the
25        Such other names for the facilities may include, but
                                                                not be limited to: winter Woods
26        Cottages, orange Blossom villas, Megginson Place
                                                                I and Megginson place II. As
27        such facilities are not completely disassociated from
                                                                 one another, the facilities
28        operated by defendants are a common, orjoint
                                                          enterprise, constituting a single

                                                     -2-
                                               Complaint
Case 5:10-cv-00546-CAS-FFM Document 1 Filed 04/14/10 Page 3 of 10 Page ID #:3



      I     integrated business entity.
      2                                PRELIMINARY ALLEGATIONS
      3              7.    Said facilities of defendants are licensed and regulated by the State of
      4    California, ffid pursuant thereto, hire labor (commonly called "caregivers") for the
      )    purpose of caring for the sick, the aged, the mentally ill or defective, which
                                                                                          sick, the
      6    aged, the mentally    ill or defective reside on the premises of such facilities.
      7              8.
                      Plaintiffs were caregivers at the facilities of defendants, and thus were
     8     employees of all defendants.
     9               9.  Plaintiffs are informed and believe and thereupon allege that there
 10        exists, and at all times relevant to this complaint there existed
                                                                             a unity of interest   and
 1l        ownership between any corporate defendants and non-corporate
                                                                           defendants such that
 t2        any individuality and separateness between said defendants
                                                                      has ceased. plaintiffs           are
 l3       further informed and believe, and thereupon allege that if the acts
                                                                                of the defendant
 t4       entities are treated as those of the entity alone, an inequitable
                                                                            result would follow.
 l5       Accordingly, as to any defendants which are corporate or entity
                                                                              defendants, it is fair
 t6       and equitable to permit piercing the corporate veil.
 t7                                       FIRST CAUSE OF ACTION
 l8                  FOR FAILURE TO PAY MINIMUM WAGE AND OYERTIME,
 t9                           AND WAGE AND HOUR VIOLATIONS
20                                 (FAIR LABOR STANDARDS ACT)
2I                            (PLAINTIFFS AGAINST ALL DEFENDANTS)
22               10'      Plaintiffs re-allege and incorporate herein by this reference
                                                                                        each of the
23        preceding paragraphs.
24               I   I'   All of said defendants fall within the coverage of the FLSA    as they are
25        engaged in the operation of institutions (here, the facilities)
                                                                          which primarily care for
26        the elderly.
27              12'   Beginning approximately on April 5,2007,and continuing
                                                                                  to November
28        21,2009, Plaintiff Erlinda Arandia rendered caregiver
                                                                services for the benefit of

                                                      -3-
                                                Complaint
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      I     defendants.

      2            13.    Beginning approximately on March 20,2007, and continuing to
      3     November 21,2009, Plaintiff Mariano Cabellon rendered caregiver services for the
     4      benefit of defendants.
      5           14.     Pursuant to the provisions of the FLSA, Plaintiffs had the right to be
     6      paid minimum wage for every hour of labor, plus the right to be paid one and a half
     7      times their regular hourly rate for all hours worked in excess of 40 during a week.
     8            15.     During their employment, defendants required and permitted plaintiffs
     9      to work hours in excess of 40 per week. Plaintiffs were not properly compensated by
 10         defendants for all 'hours worked" in that Plaintiffs were not paid the minimum wage
 l1        for the first 40 hours of work each week, nor was he paid at required ,.premium
 I2        rates" for all hours worked in excess of 40.
 l3               16. Pursuant to Section 216 of the FLSA, Plaintiffs are entitled to recover
 t4        the full amount of unpaid minimum wage and overtime compensation owing
                                                                                      in an
 15        amount estimated to exceed $100,000.00 each, and subject to more precise proof
                                                                                          at
 t6        the time of trial.
 t7               17. In addition, because defendants violated Sections 206 and207 of the
 18        FLSA, pursuant to Section 216 ofsame, Plaintiffs are entitled to a doubling
                                                                                       of the
l9         full amount of unpaid minimum wage and overtime compensation in an additional
20        amount of $100,000.00 each, and subject to more precise proof at the
                                                                                   time of trial.
2l               18.  In addition, Plaintiffs are entitled to reasonable attorney's fees in
                                                                                            an
22        amount to be proved according to law. In addition, Plaintiffs are entitled
                                                                                       to
23        prejudgment interest and costs of suit.
24        /t/
25        /t/
26        /il
27        t/t
28        //t


                                               Complaint
Case 5:10-cv-00546-CAS-FFM Document 1 Filed 04/14/10 Page 5 of 10 Page ID #:5



     I                               SECOND CAUSE OF ACTION
     2       (FOR WAGE AND HOUR VIOLATIONS,INCLT'DING CALIFORNIA
     3                               LABOR CODE SECTTON 1194)
     4      (PLAINTIFFS AGAINST DEFENDAI\ITS WINTER WOODS COTTAGES
     5         A]\tD WINTER WOODS HOME CARE FOR THE ELDERLY LLC)
     6          19. Plaintiffs re-allege and incorporate herein by this reference each of the
     7   preceding paragraphs.
     8          20. Pursuant to the provisions of the California Labor Code, including
     9   Labor Code Sections 510 and 1194, and regulations adopted by the California
 10      Department of Industrial Relations, Plaintiffs have the right to be paid properly for
 11      every hour of labor.
 T2            21. In violation of such laws and regulations, defendants, and each of them
 l3      failed to pay Plaintiffs all overtime owed, in an amount believed to exceed
 t4      $150,000.00, each.
 l5            22.   In addition, Plaintiffs are entitled to those recoveries allowed by law as
16       follows:
t7                   (A)      Pursuant to Labor code Section 203, plaintiffs was entitled to
l8                            receive at the termination of his employment all accrued but
l9                            unpaid wages for all hours labored, including overtime
20                            compensation. Because defendants, and each of them failed to
2l                          pay such wages, Plaintiffs Erlinda Arandia and Mariano Cabellon
22                          are entitled to continuing wages set forth in Labor Code Section
23                            203 in an amount estimated to be in excess of $l ,920.00 each.
24                   (B)   Defendants, and each of them, were obligated under Labor code
25                         Section 226 andregulations of the Industrial welfare
26                         Commission of the State of California, to keep accurate records       of
27                         Plaintiffs' hours of labor, and to prepare and submit to plaintiffs
28                         at least twice per month an itemized statement accurately showing

                                                   -5-
                                             Complaint
Case 5:10-cv-00546-CAS-FFM Document 1 Filed 04/14/10 Page 6 of 10 Page ID #:6



      I                          the total hours worked by Plaintiffs. Defendants, and each    of
     2                           them, failed to keep accurate records of Plaintiffs' hours of labor,
     3                           and further failed to timely provide accurate itemized wage
     4                           statements as required by such statute. Accordingly, plaintiffs
     )                           Erlinda Arandia and Mariano cabellon are entitled to damages
     6                           pursuant to Labor code Section 226, in a maximum amount        of
     7                           $4,000.00 each.
     8                 (C   )    Pursuant to law, including the applicable wage order of the
     9                           Industrial Welfare Commission, Plaintiffs are entitled to receive
 10                              all other compensation permitted by law, including for meal and
 l1                             rest periods during the course of his employment, in the
 t2                             approximate amount of $5,000.00, and according to more precise
 l3                             proof.
 t4             23.    In addition, Plaintiffs are entitled to interest on unpaid amounts owing
 l5       in an amount to be proved at trial. Further, Plaintiffs are entitled to reasonable
 l6       attorney's fees, which are hereby specifically demanded, in an amount to be proved
 t7       according to law.
 l8             24.    In addition, Plaintiffs are entitled to costs of suit.
l9
20                                           PRAYER
2l              WHEREFORE, Plaintiffs pray judgment be entered in their favor and against
22        Defendants, and each of them as follows:
23                     l.       For all damages permitted under the FLSA, including unpaid
24                              minimum wage and overtime of at least $100,000.00, doubled to
25                              $200,000.00 each plaintiff, and more precisely according to proof
26                              at trial;
27                    2.        For unpaid overtime compensation under California law in the
28                              approximate amount of $150,000.00 each plaintiff, and subject to


                                                Complaint
Case 5:10-cv-00546-CAS-FFM Document 1 Filed 04/14/10 Page 7 of 10 Page ID #:7



      I                 more precise proof at the time of trial;
      2           3.    For continuing wages pursuant to Labor Code Section 203      in    art
      3                 amount of at least $1,920.00 each, and more precisely according
      4                 to proof;
      5           4.    For damages pursuant to Labor Code Section 226 inan amount          of
      6                 amaximum of $4,000.00 each, and more precisely according to
      7                proof;
      8           5.   For compensation for meal and rest periods not received
     9                 according to law in an amount to be proved    atfral,of   about
 l0                    $5,000.00 each;
 ll              6.    For prejudgment interest according to law, believed to be over
 t2                    $5,000.00 each;
 13              7.    For costs of suit, including attorney's fees, according to proof;
 t4                    and
 l5              8.    For such other and further relief as the court may deem
 16                    appropriate.
 I7
 l8                                 Respectfully Submitted:
 l9                                 LAW OFFICES OF ROBERT R. RONNE, APC
20

2l                                                                     ")

22

23

24
                                           Attorney for Plainti ffs
                                                                   ?:
25                                         Erlinda Arandia and Mariano Cabellon
26

27

28


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                                      Complaint
    Case 5:10-cv-00546-CAS-FFM Document 1 Filed 04/14/10 Page 8 of 10 Page ID #:8

   Name & Address:

   ROBERT R. RONNE
   LAW OFFICES OF ROBERT R. RONNE, APC
   840 APOLLO STREET, SUITE 307
   EL SEGLTNDO, CALIFORNIA 90245

                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                   CASE NUMBER
   ERLINDA ARANDIA AND MARJANO
  .ABELL.N'
                               v.
                                                EIhr*Q,                  l0                  00549
  WTNTER WOODS COTIAGES; WINTER WOODS
  HOME CARE FOR THE ELDERLY LLC;
  EDGARDO ROCES,                                                                           SUMMONS
                                               DEFENDANT(S).




 TO:     DEFENDNT(S)'


         A lawsuit has been filed against you.

         Within 2l       days after service of this  su     olyg: (not counting              the day you received it), you
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        r1/e on the              4n6r'ar +^
                    plaintiffan answer   to +L^   ^e_^LlTy*
                                            the attacheddcompl;trt E                               amended complaint
 :::"T:T]?:3I::::;"lli:'_iT:.*"underR"r"it;Ftr,;-F;;iRG;rci,ffi###.*'rf,
 or motion must be served on the iffs attorney, Lobert R. Ronne          :T,,,**
 840 Apollo Street, Suite 307. El
judgment by default will be
                                            ia;;cfiiil{tra                                                   '
                                                                                                              whose address is
                                                                                                          . Ifyou fail to do so,
your answer or motion with "ntered  "g"inst
                                            you        roffi                       in the complaint. You also must file
                            the court.


                                                                              IERRY t'lAFlSl
                                                                    Clerk, U.S. District Court


    Dated: ,fifn      tf     6O



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             Case 5:10-cv-00546-CAS-FFM Document 1 Filed 04/14/10 Page 9 of 10 Page ID #:9
                                          UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIF'ORNIA
                                                                                            CryILCOVERSHEET

      I (e) PLAINTIFIS (Check box ifyou          arc representing   yowselftr)                              DEFENDAI{TS

            ERLINDA ARANDIA AND MARJANO CABELLON.                                                              WINTERWOODS COTTAGES; WINTERWOODS HOME CARE FOR
                                                                                                               THE ELDERLY LLC; EDGARDO ROCES,



      @) Attomeys (Firm Name, Address           and Telephone Number.      If you   are representing        Attorneys   (IfKnown)
          yourself, provide same.)
           ROBERT R.      RONNE                                            (3to)322-t696
           LAWOFFICES OF ROBERT R. RONNE, APC
           840 APOLLO STREET, SUITE 307, EL SEGI.JNDO, CALIFORNIA 90245

  II.    BASIS OF JURISDICTION (Place an X in one box only.)                             III.   CITIZDNSHIP OF PRINCIPAL PARTIES - For Divenity                          Cases Only
                                                                                                (Place an X in one box for plaintiff and one for defendant.)

  tr |   U.S. Govemnpnt    Plaintiff dl           f"a"rat euestion (U.S.                                                                 PTF DEF                              PTF                                  DEF
                                                  Governrnent Not a Party)                                 State                         trl trl Incorporatedorprincipalplace tr4                                  D4
                                                                                                                                                             of Business in this       State
 tr   2 U.S. Govemnent     Defendant tr 4 Divenity           (Indicate Citizenstrip      CitizenofAnotherSate                            n2 E2
                                                  ofParties in Item III)
                                                                                                                                                             Incorporatedandprincipalplace                  tr5 tr5
                                                                                                                                                             ofBusiness in Another State
                                                                                         CitizenorSubjectofaForeignCountry               tr3 tr3             ForeigrNation                                  tr6    tr6
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         Original E2 Removedfrom tr3 Remandedhom tr4 Reinstatedor tr5                                       Transfenedfromanotherdistrict(speci$):                  tr 6 Multi-              B 7 Appeal to Distict
         hoceeding State Court       Appellate Court Reopened                                                                                                            District                    Judge ftom
                                                                                                                                                                         Litigation                  Magistrate Judge
 v'     REQUESTED IN       COMPLAINT:             JLJRY DEMANDT            c Yes dNo        (Check 'Yes' only if denanded in conplaint.)
 CLASS ACTION under F.RC.P.23: tr                  yes /No                                             duonnv         ornrAr\rDED IN coMpLArNT; 3 200,fi[.00
 vI'     cAUsE oF ACTIoN (cite the U'S. Civil Satr.re un&r which you                                                             or""*r.
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         29 USCA section 216, minimum wage and overtime under Fair Labor sandards Act
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tr 490 Cable/Sat TV                             Student Loan (Excl.
tr 810 Selective Service                                                     tr 350 Motor Vehiclc                       158                         rowsftt*E/                         791 Empl. Ret. Inc.
tr 850 Securities/Commodities/       tr
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FOR OFFICE USE            ONLY:      Case Number:

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                 Case 5:10-cv-00546-CAS-FFM Document 1 Filed 04/14/10 Page 10 of 10 Page ID #:10
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         Riverside



  (b)      List the County in this District; Califomia County outside of this District; State if other than Califomia; or Foreign Country, in which
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         Riverside



 (c)       ListtheCountyinthisDistrict;CalifomiaCountyoutsideofthisDistrict;StateifotherthanCalifomia;orForeignCountry,inwhichEACHctaimarose.
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     Riverside


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          orotherpapersasrequiredbylaw.         ThisfonnapprovedbytheJudicialconferenceoftheuniledstatesinsept"rb.itezl,irr.q'uir"dpur.-n,toLocal
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          butisusedbytheClerkoftheCourtforthepurposeofstatistics,venueandinitiatingthecivi|dockersheet,iFor,,o,edetailedinscllons'see

 Key to Statistical codes relating to Social Security Cases

                     Nrlure ofSult   Code       Abbrevlrtlon        Substrntlve Strtemnt of Crure of Actlon


                     86r                       HIA                  All claims for health insurance benefits (Medicare) under Tirle I 8, Pan A, of the Social Security nct, as
                                                                                                                                                                                   amended.
                                                                    Also, include claims by hospitals, skilled nursing facilities, etc., for ceriification as providers
                                                                                                                                                                        ofservices under rhe
                                                                    program. (42 Li.S.C. t93sFF(b))

                     862                       BL                   All claims fbr "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Healrh and Safery
                                                                    (10 tr.s.c. 923)
                                                                                                                                                                           Act                  of   1969.


                     863                       DIWC                 All clainrs filed by insrred x'orkers for disability inzurance benefis under Title 2 ofrhe Social Security
                                                                                                                                                                               Acr, as
                                                                   amended; plusall     claimsfiledforchild'sinsurancebenefrrsbasedondisability. (42Lr.S.c.405(9))

                     E63                       Dlww                All claims filed for widows or widowers insurance benefits           based on disabiliry under Tirle 2 of rhe social securiry
                                                                   Act.   as amended. (42 tr.S.C. 405(9))

                     864                       SSID                All claims for supplenrntal security income paynrnls            based upon disabiliry filed under   Title   |   6 of the Social Security
                                                                   Act,   as amended.

                     865                       RSI                 All claimslbrretirement(oldage)andsunivorsbenefisunderTitle2ofrheSocial                         ScuriryAct,asanrnded.             (42
                                                                   tr.S.C. (g))


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